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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

  IN RE:

  Suspension of Bankruptcy Matters Involving the
  United States as a Party




    GENERAL ORDER INCORPORATING BY REFERENCE STANDING ORDER 18-4
   OF THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF NEW JERSEY
       AS APPLIED TO BANKRUPTCY CASES AND ADVERSARY PROCEEDINGS


      The relief set forth on the following page is hereby ORDERED.




      Dated: December 28, 2018                      /s/ Kathryn C. Ferguson
                                                    ____________________________________
                                                    Kathryn C. Ferguson, Chief Judge
                                                    United States Bankruptcy Court
                                                    District of New Jersey
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        This matter is before the court due to the lapse of congressional appropriations funding the
federal government, including the Department of Justice and the United States Attorney’s Office for the
District of New Jersey (the “U.S. Attorney’s Office”). Absent an appropriation, the United States has
represented to the United States District Court for the District of New Jersey (“District Court”) that
certain Department of Justice attorneys and employees of the federal government are prohibited from
working, even on a voluntary basis, except in very limited circumstances, including “emergencies
involving the safety of human life or the protection of property.” 31 U.S.C. § 1342. Therefore, the lapse in
appropriations requires a reduction in the workforce of the U.S. Attorney’s Office and other federal
agencies, particularly with respect to civil cases. The Court, in response, and with the intent to avoid any
default or prejudice to the United States, debtors or other litigants, with respect to deadlines, motions or
adversary proceedings which apply to, or may include the United States as a party, occasioned by the
lapse of funding, enters this Order, it is hereby


        ORDERED, effective December 28, 2018, Standing Order 18-4 of the District Court dated
December 27, 2018 (and available on the District Court’s website: njd.uscourts.gov) is incorporated by
reference. All litigation in a bankruptcy case or adversary proceeding pending in the United States
Bankruptcy Court for the District of New Jersey (“Bankruptcy Court”) involving as a party the United
States of America, its agencies, and/or any other party represented by the Department of Justice or the
United States Attorney’s Office is immediately suspended, and held in abeyance continuing either (1)
until the federal government is funded through congressional appropriation, or (2) for a period of 30 days
from the date of the District Court Standing Order 18-4, whichever comes sooner. The Court may renew
or modify this Order depending on developments during this period. This Order includes as to the United
States, the Department of Justice, or the U.S. Attorney’s Office, the suspension of all pending deadlines to
file proofs of claim, objections to: discharge, dischargeability, and confirmation of cases under Chapter
11 or Chapter 13 of the Bankruptcy Code for this period.


        The Court warns debtors and litigants that this order does not affect deadlines, and other rights
concerning motions, adversary proceedings, or appeals involving parties other than the United States.


        Any litigant affected by this Order may seek relief from the Court by motion. The court may, in
any particular matter, vary the effect or operation of this Order by separate ruling.



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        The Court shall distribute this Order by:

        a. Electronic mail to all registered CM/ECF users;
        b. Mail to all self-represented debtors in a bankruptcy case;
        c. Mail to all self-represented plaintiffs and defendants in adversary proceedings; and
        d. Posting the Order and a Notice to the Bar on the Court’s website.

        The Court shall clarify the status of affected matters and deadlines upon expiration of this period
and dependent on the timing of the funding resolution or further order of this Court.




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